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AO 245 D (Rev. 03/01) - Judgment in a Criminal Case for Revocation

UNITED STATES DISTRICT COURT
District of New Jersey |

UNITED STATES OF AMERICA
Vv. ; Case Number 3:10-CR-113-01(FLW)
WARREN JONES MOORE

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Revocation of Probation or Supervised Release)
(For Offenses Committed On or After November 1, 1987)

The defendant, WARREN JONES MOORE, was represented by Lisa Van Hoeck, AFPD.

Violation number(s) 1-6 of the Amended Petition have been dismissed.

The defendant admitted guilt to violation number(s) #7 as stated on the Amended violation petition. Accordingly, the court
has adjudicated that the defendant is guilty of the following violation(s):

Violation Number Nature of Violation

7 ‘failure to submit monthly reports to the Probation Officer’

As pronounced on December 14, 2012, the defendant is sentenced as provided in pages 2 through 2 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments are fully paid. If ordered to pay restitution,
the defendant shail notify the court and United States Attorney of any material change in the defendant’s economic circumstances.
Unless modified by this judgment, all fines, restitution, costs, and special assessments previously imposed in the judgment filed on -
February 27, 2006 remain in full force and effect, if not already paid.

Fate h Delp—

FREDA L. WOLFSON
United States District Judge

Signed this the 12 day of December, 2012.

 

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Judgment — Page 2 of 2
Defendant: WARREN JONES MOORE

Case Number: 3:10-CR-113-01

IMPRISONMENT

It is ordered and adjudged that the previously imposed term of supervised release is revoked and the defendant is hereby
committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of time served.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on to

at _ with a certified copy of this Judgment.

United States Marshal

By
Deputy Marshal.
